 Case: 1:19-cv-06473 Document #: 228-11 Filed: 05/28/24 Page 1 of 2 PageID #:16342




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                              Plaintiff,                         Case No. 1:19-cv-06473

         v.
                                                        The Honorable Sharon Johnson Coleman,
SBB RESEARCH GROUP, LLC,                                     United States District Judge
SAMUEL B. BARNETT, and
MATTHEW LAWRENCE AVEN,
                                                         The Honorable Keri L. Holleb Hotaling,
                              Defendants.                    United States Magistrate Judge


                   OMNIBUS E-DATABASE CASE LAW INDEX TO
              DEFENDANTS’ REPLIES IN SUPPORT OF DAUBERT MOTIONS

Exhibit No.    Description                                                  Motion(s) Cited In
Tab 1.         Allen v. Benton,                                             Hickey
               2022 WL 18147674 (N.D. Ill. Feb. 25, 2022)
Tab 2.         Antonick v. Electronic Arts Inc.,                            McCann
               2014 WL 245018 (N.D. Cal. Jan. 22, 2014)
Tab 3.         Bowman v. IBM Corp.,                                         Mintzer
               2013 WL 1857192 (S.D. Ind. May 2, 2013)
Tab 4.         Burns v. Sherwin-Williams Co.,                               Hickey
               2022 WL 4329417 (N.D. Ill. Sept. 18, 2022)                   Mintzer
Tab 5.         Chi. Tchrs. Union, Loc. 1 v. Bd. of Educ. of Chi.,           Mintzer
               2020 WL 914882 (N.D. Ill. Feb. 25, 2020)
Tab 6.         Connearney v. Main Line Hosps., Inc.,                        McCann
               2016 WL 6569292 (E.D. Pa. Nov. 4, 2016)
Tab 7.         Dixon v. Brown,                                              McCann
               2021 WL 2099166 (S.D. Ill. Mar. 30, 2021)
Tab 8.         Holden Metal & Aluminum Works, Ltd. v. Wismarq,              Mintzer
               2003 WL 1797844 (N.D. Ill. Apr. 3, 2003)
Tab 9.         Hudson v. City of Chicago,                                   Mintzer
               2021 WL 1020990 (N.D. Ill. Mar. 17, 2021)
Tab 10.        Goldberg v. 401 N. Wabash Venture LLC,                       Hickey
               2013 WL 212912 (N.D. Ill. Jan. 18, 2013)
Tab 11.        Ill. Nat’l Ins. Co. v. Ace Stamping & Mach. Co. Inc.,        Mintzer
               2020 WL 5891395 (N.D. Ill. Oct. 5, 2020)
 Case: 1:19-cv-06473 Document #: 228-11 Filed: 05/28/24 Page 2 of 2 PageID #:16343




Exhibit No.   Description                                              Motion(s) Cited In
Tab 12.       Kraft Foods Glob., Inc. v. United Egg Producers, Inc.,   Hickey
              2023 WL 6248473 (N.D. Ill. Sept. 19, 2023)
Tab 13.       LQD Bus. Fin., Inc. v. Rose,                             Hickey
              2023 WL 2306854 (N.D. Ill. 2023)
Tab 14.       Maloney v. Microsoft Corp.,                              McCann
              2012 WL 715856 (D.N.J. Mar. 5, 2012)
Tab 15.       Noffsinger v. Valspar Corp.,                             McCann
              2013 WL 12340338 (N.D. Ill. Jan. 4, 2013)
Tab 16.       Obrycka v. City of Chicago,                              Mintzer
              2012 WL 4092653 (N.D. Ill. Sept. 17, 2012)
Tab 17.       Searcy v. United States,                                 McCann
              2020 WL 4187392 (S.D. Fla. July 21, 2020)
Tab 18.       SEC v. Goldsworthy,                                      Mintzer
              2008 WL 8901272 (D. Mass. June 11, 2008)
Tab 19.       Simpson v. Dart,                                         McCann
              2021 WL 1906469 (N.D. Ill. May 12, 2021)
Tab 20.       Sullivan v. Alcatel-Lucent USA Inc.,                     Hickey
              2014 WL 3558690 (N.D. Ill. July 17, 2014)




                                               2
